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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )   Crim. Action No. 2:14-000135-KD-N
                                              )
TAKASHA STEVENSON,                            )
    Defendant.                                )

                        REPORT AND RECOMMENDATION

        This action is before the Court on defendant Takasha Stevenson’s “Motion for

Declaration of Indigency and Waiver of Fees” filed April 30, 2015. (Doc. 581) The

motion was referred to the undersigned by United States District Judge Kristi K.

DuBose on May 7, 2015. A hearing was held before the undersigned on May 18,

2015.1 Present at the hearing were defendant Takasha Stevenson, her retained

counsel of record Michael P. Hanle, Esq., and Assistant United States Attorney

Gloria Bedwell. Upon consideration of the motion, the evidence presented during

the hearing and the arguments of counsel, it is the recommendation of the

undersigned that the defendant’s motion for waiver of the transcript fee (Doc. 581)

be GRANTED.

        BACKGROUND

        Stevenson moves the Court to waive the requirement that she pay the fees

for a transcript of the proceedings before this Court on basis that she is indigent.2


1 Section 310.10.20 of the Guide to the Judiciary provides, in pertinent part:



     (a) In responding to requests for services under 18 U.S.C. 3006A(e) by a person
         represented by retained counsel, the court should inquire into the fee arrangement
         between the retained attorney and the client.

2 At the hearing, counsel for defendant clarified that the request was solely to waive the

requirement for payment of the transcript of the proceedings in District Court.
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At arraignment, Stevenson qualified for appointment of counsel under the Criminal

Justice Act, 18 U.S.C. § 3006A, and counsel (CJA Panel Attorney Tim Fleming) was

appointed to represent her in the criminal proceedings in this Court (Doc. 125,

Financial Affidavit; Doc. 128, Order appointing counsel from the Criminal Justice

Act Panel of Attorneys). Following her conviction after a jury trial, her appointed

counsel filed a notice of appeal. (Doc. 545)

      Stevenson has now retained new counsel to represent her on appeal and

represents to the Court that her family has paid his fee. In support of her motion to

waive the fees for transcripts, Stevenson states, in sum, that no further funds are

available from her family and that she is without means to pay the costs of the

transcript.

      ANALYSIS

      Under the Criminal Justice Act, after an appropriate inquiry in an ex parte

proceeding, the Court may authorize counsel to obtain transcripts if the Court finds

that the transcripts are necessary and that the defendant is financially unable to

purchase them.      See 18 U.S.C. § 3006A(e) (providing for services other than

counsel).     “Fees for transcripts furnished in criminal proceedings to persons

proceeding under the Criminal Justice Act, 18 U.S.C. § 3006A, . . . shall be paid by

the United States[.]” 28 U.S.C. § 753(f).

      At the time of her arrest, Stevenson was employed at a manufacturing plant.

However, she qualified financially for appointment of counsel (Docs. 125, 128).

Now that she has been sentenced and placed in the custody of the United States

Marshal, she is no longer employed.3 Thus, her financial status has not improved


3 At the time of the hearing Stevenson was being housed in the Mobile County Metro Jail in

Mobile, Alabama, awaiting designation by the Bureau of Prisons.


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since that time. Stevenson states that her family paid the fees of her recently

retained counsel but that no further funds are available for purchase of a transcript.

       At the hearing, FBI Special Agent Craig Underwood testified regarding his

criminal investigation, which included reviewing Stevenson’s income tax returns for

the years 2007 through 2013 (excluding 2009).            Specifically, Agent Underwood

noted that in the years 2011, 2012, and 2013, although reporting incomes of

$29,652, $40,039 and $33,535, respectively, Stevenson also reported business losses

of $12,777 (2011), $19,193 (2012) and $11,507 (2013). (Govt. Ex. 3). In addition,

during the years 2010, 2011, 2012, and 2013, cash deposits (made in increments of

$500.00 or more) totaling $60,000.00 were made to 3 bank accounts owned by

defendant. (Govt. Ex. 2) Agent Underwood also noted that during Stevenson’s trial

on charges of money laundering, she testified that friends had given her large sums

of cash and that the Government has been unable to account for this money. (Govt.

Ex. 1) Finally, AUSA Bedwell proffered that Stevenson testified to, and evidence

was admitted regarding, her personal assets and noted that a preliminary order of

forfeiture for $25,270.00 has been entered in this case. (Doc. 555)

       Counsel for defendant noted that she has been incarcerated since her

sentencing on April 8, 2015, has lost her employment, and has no income.              In

addition, counsel noted that Stevenson is a single mother of two teenagers.

Further, counsel elaborated on the information contained in the motion regarding

his fee arrangement with Stevenson’s sister and mother.4 The undersigned finds

that the fee arrangement is not unreasonable in relation to fees customarily paid to

practitioners in the community for services in criminal matters of similar duration


4 At this point in the hearing, AUSA Bedwell and Agent Underwood were excused from the

proceedings. In addition, the recording of the hearing was ordered sealed.


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and complexity. (Guide To Judiciary Policy, § 310.10.20(b)). Upon consideration of

the motion, the evidence submitted during the hearing, and argument by counsel,

the undersigned finds that Stevenson has met the requirements of financial

inability to obtain the transcript and the necessity5 of the services. Accordingly, it

is the recommendation of the undersigned that Stevenson’s motion for waiver of the

transcript fee (Doc. 581) be GRANTED, subject to the provisions of 18 U.S.C.

3006A(e)(3).6

                       NOTICE OF RIGHT TO FILE OBJECTIONS

         A copy of this report and recommendation shall be served on all parties in the

manner provided by law. Any party who objects to this recommendation or anything

in it must, within fourteen (14) days of the date of service of this document, file

specific written objections with the Clerk of this Court. See 28 U.S.C. § 636(b)(1);

Fed. R. Civ. P. 72(b); S.D. Ala. L.R. 72.4. The parties should note that under

Eleventh Circuit Rule 3-1, “[a] party failing to object to a magistrate judge's

findings or recommendations contained in a report and recommendation in

accordance with the provisions of 28 U.S.C. § 636(b)(1) waives the right to challenge

on appeal the district court's order based on unobjected-to factual and legal


5 Although not stated in the motion, at the hearing counsel advised that the transcripts are
necessary for the appeal, and the court concurs. See United States v. Ware, 2010 WL
743032, *2 (M.D. Ala. Feb. 26, 2010) (“Counsel’s need for the transcripts at the critical
juncture after conviction and before sentencing is apparent to the Court.”)

6 “(3)Maximum amounts.--Compensation to be paid to a person for services rendered by
him to a person under this subsection, or to be paid to an organization for services rendered
by an employee thereof, shall not exceed $2,400, exclusive of reimbursement for expenses
reasonably incurred, unless payment in excess of that limit is certified by the court, or by
the United States magistrate judge if the services were rendered in connection with a case
disposed of entirely before him, as necessary to provide fair compensation for services of an
unusual character or duration, and the amount of the excess payment is approved by the
chief judge of the circuit. The chief judge of the circuit may delegate such approval
authority to an active or senior circuit judge.”


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conclusions if the party was informed of the time period for objecting and the

consequences on appeal for failing to object. In the absence of a proper objection,

however, the court may review on appeal for plain error if necessary in the interests

of justice.” 11th Cir. R. 3-1. In order to be specific, an objection must identify the

specific finding or recommendation to which objection is made, state the basis for

the objection, and specify the place in the Magistrate Judge’s report and

recommendation where the disputed determination is found. An objection that

merely incorporates by reference or refers to the briefing before the Magistrate

Judge is not specific.

      DONE this the 22nd day of May 2015.

                                 /s/ Katherine P. Nelson
                                 ____________________________
                                 KATHERINE P. NELSON
                                 UNITED STATES MAGISTRATE JUDGE




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